                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF IOWA
                                       CEDAR RAPIDS DIVISION


TED SHARPENTER, Individually and On
Behalf of All Others Similarly Situated,
                                                                           Case No. 1:17-cv-0113-LTS
                 Plaintiff,
v.

                                                                         DISCLOSURE STATEMENT
ROCKWELL COLLINS, INC., ANTHONY J.
CARBONE, CHRIS A. DAVIS, RALPH E.
EBERHART, JOHN A. EDWARDSON,
RICHARD G. HAMERMESH, DAVID
LILLEY, ROBERT K. ORTBERG, ANDREW
J. POLICANO, CHERYL L. SHAVERS,
JEFFREY L. TURNER, JOHN T. WHATES,
UNITED TECHNOLOGIES
CORPORATION, and RIVETER MERGER
SUB CORP,

                 Defendants.




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         As required by LR 7.1 and LR 81(c) and (d), Plaintiff Ted Sharpenter, Individually and On Behalf

of All Others Similarly Situated, in this case provides the following information to the court:

     (a) The following are the names of all associations, firms, partnerships, corporations, and other artificial

        entities that either are related to the Plaintiff Ted Sharpenter, as a parent, subsidiary, or otherwise, or

        have a direct or indirect or indirect pecuniary interest in the Plaintiff Ted Sharpenter’s outcome in this

        case:

                Rigrodsky & Long, P.A.
                RM Law, P.C.
                Baer Law Office



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   (b) With respect to each entity named in response to (a), the following describes its connection

      to or interest in the litigation, or both:

               Counsel for Plaintiff




Date: November 10, 2017
                                                          BAER LAW OFFICE

OF COUNSEL:                                               /s/ Kimberley K. Baer
                                                          Kimberley K. Baer AT0000683
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